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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 24-80116-CR-CANNON

  UNITED STATES OF AMERICA,

           Plaintiff,

           vs.

  RYAN WESLEY ROUTH,

           Defendant.
                                          /

                        DEFENDANT RYAN ROUTH’S MOTION TO RECUSE
                         THE HONORABLE JUDGE AILEEN M. CANNON

           The Defendant in this case, Ryan Wesley Routh, respectfully moves Your Honor to recuse

  herself from this case, pursuant to the Due Process Clause and the federal recusal statute, 28 U.S.C.

  § 455. This motion is warranted due to the unique facts and circumstances of this case, and this

  Court’s relationship to the alleged victim. Recusal by Your Honor is essential to preserve the ap-

  pearance of impartiality.

           Mr. Routh stands accused of attempting to assassinate Donald J. Trump. He faces up to life

  in prison. This case has already attracted significant media attention. It will continue to do so, and

  this Court’s rulings are likely to face intense public scrutiny. This motion presumes that this Court

  would preside over this case impartially. However, given the heightened stakes and the public

  scrutiny, there should not be any doubts about even the appearance of impartiality of the presiding

  judge.
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         Although Mr. Trump is the alleged victim here, he previously served as President of the

  United States. While in office, he nominated Your Honor to her current position as a U.S. District

  Judge on the Southern District of Florida. Your Honor thus owes her lifetime appointment to the

  alleged victim in this criminal case.

         After Mr. Trump left office, he was charged in this District with 40 felony counts relating

  to his retention of classified documents. Your Honor recently presided over that criminal case, and

  ultimately dismissed the case against Mr. Trump.

         Mr. Trump is the current Republican candidate for President in next month’s election. On

  the campaign trail, he has repeatedly praised Your Honor for her rulings in his case. As the alleged

  victim here, he has a significant stake in the outcome of this case too. Were he to become President

  in the future, he would have authority to nominate Your Honor to a federal judgeship on a higher

  court were a vacancy to arise.

         Taken together, these unprecedented facts and circumstances might create        an appearance

  of partiality in the mind of the public. Accordingly, the Constitution and the federal recusal statute

  require Your Honor to recuse herself from this case.

                                          LEGAL STANDARDS

         “It is axiomatic that ‘a fair trial in a fair tribunal is basic requirement of due process.’”

  Caperton v. A.T. Massey Coal Co., Inc., 556 U.S. 868, 876 (2009) (quoting In re Murchison, 349

  U.S. 133, 136 (1955) (brackets omitted). Thus, “[t]he Due Process Clause ‘may sometimes bar

  trial by judges who have no actual bias and who would do their very best to weigh the scales of

  justice equally between contending parties. But to perform its high function in the best way, justice

  must satisfy the appearance of justice.’” Aetna Life Ins. Co. v. Lavoie, 475 U.S. 813, 825 (1986)

  (quoting In re Murchison, 349 U.S. at 136 (additional quotation marks omitted).

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          This foundational principle is also codified in the federal recusal statute. As relevant here,

  28 U.S.C. § 455(a) provides that “[a]ny . . . judge . . . of the United States shall disqualify [herself]

  in any proceeding in which [her] impartiality might reasonably be questioned.” Under § 455(a), “a

  judge is under an affirmative, self-enforcing obligation to recuse [herself] sua sponte whenever

  the proper grounds exist.” United States v. Kelly, 888 F.2d 732, 744 (11th Cir. 1989); accord

  United States v. Torkington, 874 F.2d 1441, 1446 (11th Cir. 1989) (stating that a “district judge

  has the initial responsibility to recuse [herself] from a case). However, where the judge does not

  recuse sua sponte, “[a] party may move for the recusal of a judge under 28 U.S.C. § 455.” United

  States v. Scrushy, 721 F.3d 1288, 1303 (11th Cir. 2013).

          The Supreme Court has explained that the “very purpose of § 455(a) is to promote confi-

  dence in the judiciary by avoiding even the appearance of impropriety whenever possible.”

  Liljeberg v. Health Services Acquisition Corp., 486 U.S. 847, 865 (1988); see id. at 860 (same).

  As the federal Judiciary’s “‘catchall’ recusal provision,” “what matters [for purposes of § 455(a)]

  is not the reality of bias or prejudice but its appearance. Quite simply and quite universally, recusal

  [i]s required whenever ‘impartiality might reasonably be questioned.’” Liteky v. United States, 510

  U.S. 540, 548 (1994) (quoting § 455(a)). “This overriding concern with appearances, as opposed

  to the existence in fact of any bias or prejudice, stems from the recognized need for an unimpeach-

  able judicial system in which the public has unwavering confidence.” Potashnick v. Port City

  Const. Co., 609 F.2d 1101, 1111 (5th Cir. 1980); see Bonner v. City of Pritchard, 661 F.2d 1206,

  1207 (11th Cir. 1981) (en banc) (adopting as binding precedent all decisions of the Fifth Circuit

  handed down before October 1, 1981).

          In accordance with § 455(a)’s text—mandating recusal whenever a judge’s impartiality

  “might be reasonably be questioned”—recusal is evaluated on an “objective basis.” Liteky, 510

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  U.S. at 548. In other words, § 455(a) “deals with the objective appearance of partiality,” rendering

  the judge’s “subjective” bias or knowledge “irrelevant.” Id. at 553 n.2. Specifically, § 455(a) re-

  quires recusal where “an objective, disinterested, lay observer fully informed of the facts underly-

  ing the ground on which recusal [i]s sought would entertain a significant doubt about the judge’s

  impartiality.” United States v. Curtin, 78 F.4th 1299, 1310 (11th Cir. 2023) (quotation omitted).

         Importantly, the Eleventh Circuit has repeatedly stressed that “‘any doubts must be re-

  solved in favor of recusal.’” In re Moody, 755 F.3d 891, 895 (11th Cir. 2014) (quoting United

  States v. Patti, 337 F.3d 1317, 1321 (11th Cir. 2003)). This too follows from the text of the recusal

  statute. In addition to the use of the word “shall,” making recusal mandatory, “[t]he use of ‘might

  reasonably be questioned’ in section 455(a) clearly mandates that it would be preferable for a judge

  to err on the side of caution and disqualify [herself] in a questionable case.” Potashnick, 609 F.2d

  at 1112. Indeed, the language of § 455(a) was specifically designed to “eliminate the so-called

  ‘duty to sit’” that had governed the previous recusal statute. Id.; see Kelly, 888 F.2d at 744 (“Sec-

  tion 455 does away with the old ‘duty to sit’ doctrine and requires judges to resolve any doubts

  they may have in favor of disqualification.”).

         The reason for this change, adopted back in 1974, was as follows: “the disqualification of

  a judge in any given case does not cause the delay or inconvenience which resulted in prior times.

  The growing number of federal judges, and the availability of rapid transportation to move those

  judges from place to place when necessary, make the decision to disqualify much less burdensome

  on the judicial system than in times past; any inconvenience which does arise is more than out-

  weighed by the need to protect the dignity and integrity of the judicial process.” Potashnick, 609

  F.2d at 1112.



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         This pragmatic rationale applies with particular force here, where recusal is sought at the

  outset of the case—before the judge has expended any resources—and where the case is brought

  in a District with numerous other capable judges who are available to preside over the case without

  any possible appearance of partiality. Cf. Bolin v. Story, 225 F.3d 1234, 1238 (11th Cir. 2000)

  (“Under th[e] ‘rule of necessity,’ a judge is not disqualified due to a personal interest if there is no

  other judge available to hear the case,” and this rule is “generally invoked in cases in which no

  judge in the country is capable of hearing the case.”) (emphasis added).

                              GROUNDS FOR DISQUALIFICATION

         “Recusal decisions under § 455(a) are extremely fact driven and must be judged on their

  unique facts and circumstances more than by comparison to situations considered in prior juris-

  prudence.” Moody, 755 F.3d at 895 (quotation omitted). If any case illustrates the wisdom of that

  proposition, it is this one. The facts and circumstances of this case are sui generis. The specific

  grounds for recusal are set out below. The simple act of reassigning the case to another judge

  would vitiate them all.

         A.       The alleged victim appointed Your Honor to the bench.

         As an initial matter, it is a historical fact that, while serving as the 45th President of the

  United States, Mr. Trump nominated Your Honor to her current judgeship in May 2020. By itself,

  this fact is by no means disqualifying. After all, federal judges and justices routinely preside over

  cases involving the President that nominated them. Indeed, the oath they take requires them to set

  aside any personal loyalty they might feel towards the President who appointed them. See 28

  U.S.C. § 453.

         At the same time, this dynamic must still factor into the recusal analysis. The reason “is

  that people who have not served on the bench are often all too willing to indulge suspicions and

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  doubts concerning the integrity of judges.” Liljeberg, 486 U.S. at 864. Unlike judges and members

  of the legal profession, the public may not grasp that a judge is obligated to set aside any feelings

  of personal loyalty or gratitude. Indeed, members of the public may question whether doing so is

  even possible. So when a judge is presiding over a case involving the very President who appointed

  her, members of the public may suspect that the judge will wish to “return the favor.”

          In this case, that concern is particularly salient. Normally, a federal judge may be required

  to resolve a dispute involving an official policy, regulation, or program developed by the current

  President’s Administration. This case, however, involves no official policy, regulation, or program

  at all. Rather, a former President is involved in this case in a purely personal capacity as the alleged

  victim of a crime—and an assassination attempt no less. In the mind of the public, this visceral

  context may make it even more difficult for a judge to set aside personal feelings of loyalty or

  gratitude for the President that bestowed on her a lifetime appointment to the bench.

          Finally, the unprecedented nature of this scenario militates in favor of recusal. Indeed, it is

  unclear whether this scenario—i.e., a federal judge presiding over a criminal case where the very

  President who appointed her is the alleged victim of a violent crime—has ever occurred in the

  history of this country. At the very least, that the alleged victim in this criminal case appointed

  Your Honor to her current position is a factor that can and should be considered alongside the other

  factors discussed below.

          B.      Mr. Trump has publicly praised this Court for its rulings.

          While Mr. Trump is the alleged victim in this criminal case, this Court has previously pre-

  sided over cases in which he was a civil plaintiff and a criminal defendant. During those cases, this

  Court issued some rulings that were favorable to Mr. Trump. One of the rulings was stayed and

  then vacated on appeal. See Trump v. United States, 54 F.4th 689 (11th Cir. 2022); Trump v. United

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  States, 2022 WL 4366684 (11th Cir. 2022). Other rulings were characterized by some in the media

  as unorthodox. And, in July, this Court dismissed the criminal case against Mr. Trump in its en-

  tirety. That ruling is now the subject of an appeal in 11th Cir. No. 24-12311.    Compounding the

  potential appearance of partiality, Mr. Trump himself has positively invoked and repeatedly

  praised this Court in public for its rulings in his case.

          While this Court had little control over how Mr. Trump responded to its rulings, Mr.

  Trump’s social media page immediately invoked this Court’s dismissal ruling as support for dis-

  missing several other legal proceedings against him, including the federal criminal case brought

  by the Special Counsel in the District of Columba. See Donald J. Trump, Truth Social (July 15,

  2024) (“this dismissal of the Lawless Indictment in Florida should be just the first step, followed

  quickly by the dismissal of ALL the Witch Hunts—The January 6th Hoax in Washington, D.C.”).

  Mr. Trump’s immediate invocation of the Court’s dismissal ruling may have made it difficult for

  the public to disentangle this Court’s ruling from Mr. Trump’s political campaign.

          A few days later, Mr. Trump praised this Court’s ruling and Your Honor by name during

  his acceptance speech at the Republican National Convention—viewed by over 25 million people.

  John Koblin, 25 Million Watched Trump’s Speech at the R.N.C. on Thursday, N.Y. Times (July

  19, 2024). He stated: “On Monday, a major ruling was handed down from a highly respected fed-

  eral judge in Florida, Aileen Cannon, finding that the prosecutor and the fake documents case

  against me were totally unconstitutional, and the entire case was thrown out of court.” The audi-

  ence applauded after that line. The media also reported this aspect of his speech, further amplifying

  his praise of this Court and ruling. See, e.g., Alia Shoaib, Donald Trump Praises ‘Highly Re-

  spected’ Aileen Cannon in RNC Speech, Newsweek (July 19, 2024).



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         Mr. Trump has otherwise publicly praised this Court, both before and after the dismissal.

  For example, commenting on a pending motion to continue the criminal trial early on in the case,

  Mr. Trump went on television and praised Your Honor: “I know it’s a very highly respected judge.

  A very smart judge, and a very strong judge.” When the host observed that Mr. Trump appointed

  Your Honor to the Court, he responded: “I did, and I’m very proud to have appointed her. But

  she’s very smart and very strong, and loves our country. We need judges that love our country so

  they do the right thing.” Brett Samuels, Trump Praises Judge Overseeing his Classified Documents

  Case, Saying She ‘Loves Our Country’, The Hill (July 16, 2023).

         Just last month, Mr. Trump gave a press conference where he praised Your Honor by name

  again, stating: “. . . I wasn’t surprised because I don’t get friendly panels. I don’t get friendly

  panels, but where we’ve had fair judges where we’ve had brilliant judges. Frankly, I, I don’t know

  the judge in Florida. Judge Cannon don’t know her at all. But, um, I think she’s a brilliant woman.

  I think she handled a scam. It’s a scam case. That’s the documents case.” Donald Trump Press

  Conference After Legal Team Sought to Appeal Verdict in E. Jean Carroll Case, YouTube, minute

  mark 25:28–25:34 (Sept. 6, 2024), https://www.youtube.com/watch?v=iTEdQTNVFds.

         By repeatedly and publicly praising this Court by name for its rulings in his case, Mr.

  Trump has arguably bolstered the perception that the Court is partial in his favor. Moreover, were

  Mr. Trump to become President again in the future, he would be in a position to nominate Your

  Honor to a vacancy on a higher appellate court, including the U.S. Supreme Court. In the mind of

  the public, this prospect of a judicial promotion could arguably affect this Court’s ability to be

  impartial in this case, where Mr. Trump is the alleged victim and has an interest in the outcome.




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         C.      Recusal would remove any public perception that Mr. Trump’s cases have as-
                 signed to this Court in a non-random manner.

         Finally, the media previously reported that the “odds” of this Court receiving either the

  civil lawsuit by Mr. Trump or the criminal case against Mr. Trump “were low,” prompting ques-

  tions about the randomness of the case assignments. Charlie Savage, A Trump-Appointed Judge

  Who Showed him Favor Gets the Documents Case, supra; see Charlie Savage, Trump Appointee

  Will Remain Judge in Documents Case, Clerk Says, N.Y. Times (June 10, 2023). This is the now

  third case involving Mr. Trump that has been assigned to this Court, which has already been de-

  scribed as a “remarkable coincidence.” Sean O’Driscoll, Aileen Cannon Overseeing Ryan Routh

  Case ‘Remarkable Coincidence—Lawyer, Newsweek (Sept. 25, 2024). Given these very low odds,

  the public may suspect that Mr. Trump’s cases have somehow been deliberately steered to this

  Court. That perception would irreparably damage the integrity of this Court as an institution, not

  to mention the judicial process. To be clear, there is no evidence that this case (or any other) was

  assigned in a non-random manner. But conspiracy theories have been based on less. Recusal would

  thus have the added benefit of preventing the public from harboring such a dangerous perception.

                                           CONCLUSION

         This motion assumes that this Court has “no actual basis” and “would do [its] very best to

  weigh the scales of justice equally between contending parties. But to perform its high function in

  the best way ‘justice must satisfy the appearance of justice.’” In re Murchison, 349 U.S. at 136

  (quoting Offutt v. United States, 348 U.S. 11, 13 (1954)). The unprecedented facts and circum-

  stances of this case, at the very least, create significant doubts about whether this Court could

  preside consistent with the requisite appearance of impartiality. And “any doubts must be resolved




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   in favor of recusal.” In re Moody, 755 F.3d at 895 (quotation omitted). Accordingly, Mr. Routh

   respectfully requests that this Court grant this motion and recuse from this case.

          Pursuant to Local Rule 88.9, on October 2, 2024, counsel for Mr. Routh conferred with the

   government by phone to advise that the defense would be drafting a recusal motion. On October

   16, 2024, counsel for Mr. Routh spoke to the government by phone and later emailed a draft of the

   motion to the government. On October 17, 2024, the government replied that they are taking this

   motion under advisement.

   Respectfully submitted,

   HECTOR A. DOPICO
   Federal Public Defender

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                                     CERTIFICATE OF SERVICE

          I hereby certify that on October 17, 2024, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record via transmission of Notices of Electronic Filing generated

   by CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

   to receive electronically Notices of Electronic Filing.


                                                 s/ Kristy Militello
                                                 Kristy Militello

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